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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   :       Case No. 22-0070 (RDM)
                                              :
 LUCAS DENNEY,                                :
                                              :
                 Defendant.                   :

       UNITED STATES’ NOTICE OF SENTENCING GUIDELINES ESTIMATE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits its Notice of Sentencing Guideline Estimate

pursuant to this Court’s March 14, 2022, Minute Order requesting that the parties “submit their

respective guidelines calculations, including any criminal history.”

       Should Defendant Lucas Denney plead guilty to one violation of 18 U.S.C. § 111(a)(1)

and (b). Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, and

based on the facts and circumstances of the assault, his estimated sentencing guideline analysis

is as follows:

Base offense level: § 2A2.2(a)                                                       +14

Specific Offense Characteristics:

       (1) The assault involved more than minimal planning (+2), § 2A2.2(b)(1)        +2

       (2) A dangerous weapon (pole) was used (+4), § 2A2.2(b)(2)(B)                  +4

       (3) Defendant convicted under 18 U.S.C. § 111(b) (+2), § 2A2.2(b)(7)           +2

Chapter 3 Adjustments: (Chapter 3, Parts A-C, E)

       (1) Official victim (+6), § 3A1.2(b)                                           +6

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       (2) Acceptance of Responsibility (-3), § 3E1.1                                 -3

Final offense level:                                                                  25

Criminal history category: (Chapter 4, Part A):                                        I

Sentencing Guidelines range from sentencing table (Chapter 5, Part A):          57 to 71 months

       The United States respectfully requests that the Court use and advise Defendant Denney

of the government’s sentencing guidelines estimate prior to Denney’s proposed plea.


                                            Respectfully submitted,

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